                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS



                                                                        Civil Action
                                                                        No: 12cv10667-WGY
                                         Salin Nuth

                                          Plaintiff

                                              v.

                                  Kelly Services, Inc. et al
                                         Defendant



                     SETTLEMENT ORDER OF DISMISSAL

YOUNG, D.J.


       The Court having been advised on May 13, 2013 that the above-entitled action has
been settled:
       IT IS ORDERED that this action is hereby dismissed without cost and without
prejudice to the right of any party, upon good cause shown, to reopen the action within thirty
(30) days if settlement is not consummated.


                                                                 By the Court,

                                                                 /s/Matthew A. Paine

                                                                 Deputy Clerk




May 13, 2013


To: All Counsel
